                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

 DAVID DUVALL,                                        )
                                                      )
 Plaintiff,                                           )
                                                      )
 v.                                                   )
                                                          C.A. No. 3:19-cv-00624-FDW-DSC
                                                      )
 NOVANT HEALTH, INC.,                                 )
                                                      )
 Defendant.                                           )
                                                      )
                                                      )

                 DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT

        COMES NOW Defendant Novant Health, Inc. (“Defendant”), by and through undersigned

counsel, and timely submits this Answer to the Complaint of Plaintiff David Duvall (“Plaintiff”).

                                        FIRST DEFENSE

        In response to the particular allegations of Plaintiff’s Complaint, Defendant responds as

follows:

        1.       Upon information and belief, and relying solely upon Plaintiff’s representations,

Defendant admits that Plaintiff is a Caucasian male citizen and resident of Michigan.

        2.       Regarding the allegations contained in Paragraph 2 of the Complaint, Defendant

admits that Novant Health, Inc. is a non-profit corporation and healthcare provider. Defendant

further admits that Novant Health, Inc.’s principal office is in Forsyth County, that it has an office

in Mecklenburg County, and that it had approximately 29,000 team members in or around July

2018. Defendant denies the remaining allegations contained in Paragraph 2 of the Complaint.




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                                 JURISDICTION AND VENUE1

        3.       Regarding the allegations contained in Paragraph 3 of the Complaint, Defendant

admits that Plaintiff asserts claims for alleged violations of Title VII of the Civil Rights Act of

1964 (“Title VII”), the Employee Retirement Income Security Act of 1974 (“ERISA”), and North

Carolina law. Defendant further admits that, subject to the defenses asserted in this Answer, this

Court has subject matter jurisdiction over the claims in this action. Defendant denies the remaining

allegations contained in Paragraph 3 of the Complaint.

        4.       Paragraph 4 contains legal conclusions to which no response is required.

        5.       Paragraph 5 contains legal conclusions to which no response is required.

        6.       Regarding the allegations contained in Paragraph 6 of the Complaint, Defendant

admits that Plaintiff filed an administrative charge with the Equal Employment Opportunity

Commission (“EEOC”), designated as Charge No. 430-2019-00733 and admits that the content

and timing of the charge speak for themselves. Defendant further admits that the EEOC issued a

Dismissal and Notice of Rights dated September 19, 2019. The remaining allegations in Paragraph

6 of the Complaint contain legal conclusions to which no response is required. To the extent any

response may be required, Defendant denies the remaining allegations contained in Paragraph 6 of

the Complaint.

        7.       Regarding the allegations contained in Paragraph 7 of the Complaint, Defendant

admits that Plaintiff asserts claims under North Carolina law.         Defendant further admits that,

subject to the defenses asserted in this Answer, this Court has subject matter jurisdiction over the

claims in this action. The remaining allegations in Paragraph 7 of the Complaint contain legal




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 Defendant uses the headings from Plaintiff’s Complaint for clarity and consistency only. Their use shall
not be deemed an admission of any fact or claim contained therein.
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conclusions to which no response is required. To the extent any response may be required,

Defendant denies the remaining allegations contained in Paragraph 7.

       8.       Paragraph 8 contains legal conclusions to which no response is required. To the

extent any response may be required, Defendant admits that, subject to the defenses asserted in

this Answer, venue in this Court is proper. Defendant denies any remaining allegations contained

in Paragraph 8 of the Complaint.

                                                 FACTS

       9.       Regarding the allegations contained in Paragraph 9 of the Complaint, Defendant

admits that it hired Plaintiff on August 5, 2013 to the position of Senior Vice President of

Marketing and Communications. Defendant lacks sufficient information to form a belief as to the

truth of the remaining allegations contained in Paragraph 9 of the Complaint, including the alleged

success of Plaintiff’s career prior to Novant, and therefore, denies them.

       10.      Defendant admits the allegations contained in Paragraph 10 of the Complaint.

       11.      Defendant denies the allegations contained in Paragraph 11 of the Complaint.

       12.      Defendant denies the allegations contained in Paragraph 12 of the Complaint.

       13.      Regarding the allegations contained in Paragraph 13 of the Complaint, Defendant

admits that its severance pay policies speak for themselves. Defendant denies the remaining

allegations contained in Paragraph 13 of the Complaint.

       14.      Regarding the allegations contained in Paragraph 14 of the Complaint, Defendant

admits that its severance pay policies speak for themselves. Defendant denies the remaining

allegations contained in Paragraph 14 of the Complaint.




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       15.     Regarding the allegations contained in Paragraph 15 of the Complaint, Defendant

admits that its severance pay policies speak for themselves. Defendant denies the remaining

allegations contained in Paragraph 15 of the Complaint.

       16.     Regarding the allegations contained in Paragraph 16 of the Complaint, Defendant

admits that Plaintiff’s employment was terminated on July 30, 2018 due to his deficient

performance, including his inability to communicate effectively before a group and the delegation

of the critical duties of his position to his subordinates. Defendant denies the remaining allegations

contained in Paragraph 16 of the Complaint.

       17.     Regarding the allegations contained in Paragraph 17 of the Complaint, Defendant

admits that Jesse Cureton notified Plaintiff of the decision to terminate his employment. Defendant

denies the remaining allegations contained in Paragraph 17 of the Complaint.

       18.     Defendant denies the allegations contained in Paragraph 18 of the Complaint.

       19.     Regarding the allegations contained in Paragraph 19 of the Complaint, Defendant

lacks sufficient information to form a belief as to the truth of any assessments Plaintiff received

from Press Ganey on unidentified dates, and, therefore, denies those allegations. Defendant denies

the remaining allegations contained in Paragraph 19 of the Complaint.

       20.     Regarding the allegations contained in Paragraph 20 of the Complaint, Defendant

lacks sufficient information to form a belief as to the truth of any “resiliency” score received by

Plaintiff’s team on unidentified dates, and therefore denies those allegations. Defendant denies

the remaining allegations contained in Paragraph 20 of the Complaint.

       21.     Regarding the allegations contained in Paragraph 21 of the Complaint, Defendant

admits that Plaintiff sat on committees and strategic councils. Defendant denies that Plaintiff

regularly participated in those committees and councils, and admits that he regularly failed to



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attend meetings of the same. Defendant admits that Plaintiff attended a few initial meetings on

the digital access project. Defendant denies that Plaintiff led this project and admits that others,

including Tammy Jones (VP, Marketing), not Plaintiff, primarily did all of the work on this project.

Defendant denies the remaining allegations contained in Paragraph 21 of the Complaint.

       22.     Regarding the allegations contained in Paragraph 22 of the Complaint, Defendant

admits that Novant’s marketing projects have earned industry-wide recognition and awards,

however, Defendant denies that this recognition is due to Plaintiff’s leadership. Defendant admits

that Plaintiff was part of the Health Management Academy and that Plaintiff paid to be a member

of the same. Defendant denies the remaining allegations contained in Paragraph 22 of the

Complaint.

       23.     Regarding the allegations contained in Paragraph 23 of the Complaint, Defendant

admits that the Senior Vice President of Marketing and Communications position was split into

two different roles: Chief PR and Communications Officer and Chief Marketing Officer.

Defendant further admits that Kati Everett, a white female, was promoted to the position of Chief

PR and Communications Officer. Defendant admits that due to Plaintiff’s frequent delegation of

his duties, Ms. Everett was performing many of the key duties of Plaintiff’s position prior to his

termination. Defendant also admits that Vicky Free, an African-American female, was hired as

the Chief Marketing Officer. Defendant denies the remaining allegations contained in Paragraph

23 of the Complaint.

       24.     Defendant denies the allegations contained in Paragraph 24 of the Complaint.

       25.     Defendant denies the allegations contained in Paragraph 25 of the Complaint.

       26.     Regarding the allegations contained in Paragraph 26 of the Complaint, Defendant

admits that its current Chief Administrative Officer is an African-American male, as is the current



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President and Chief Operating Officer of the Haymarket Medical Centers. Defendant further

admits that its current President of the Physician Network is an African-American female and its

current Chief Digital and Technology Officer is a Caucasian female, as is its current Kernersville

Medical Center Admin. President and Chief Operating Officer. Defendant denies the remaining

allegations contained in Paragraph 26 of the Complaint.

        27.     Regarding the allegations contained in Paragraph 27 of the Complaint, Defendant

admits that the goal of achieving diversity in leadership has recognized value. Defendant denies

that it terminated any individual for the sole purpose of achieving diversity and denies the

remaining allegations contained in Paragraph 27 of the Complaint.

        28.     Defendant denies the allegations contained in Paragraph 28 of the Complaint.

        29.     Defendant lacks sufficient information to form a belief as to the existence of an

email sent on an unidentified date to unidentified recipients by an unidentified sender, and

therefore denies the allegations contained in Paragraph 29 of the Complaint.

        30.     Defendant denies the allegations contained in Paragraph 30 of the Complaint.

                                       FIRST CLAIM FOR RELIEF
                                      ([Denied Violation of] Title VII)

        31.     Defendant incorporates by reference its answers to the allegations of Paragraphs 1

through 30, as if fully set forth herein.

        32.     Defendant denies the allegations contained in Paragraph 32 of the Complaint.

        33.     Regarding the allegations contained in Paragraph 33 of the Complaint, Defendant

admits that Plaintiff is a white male. Defendant denies the remaining allegations contained in

Paragraph 33 of the Complaint.

        34.     Defendant denies the allegations contained in Paragraph 34 of the Complaint.




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       35.     Defendant admits that the Senior Vice President of Marketing and Communications

position was split into two different roles: Chief PR and Communications Officer and Chief

Marketing Officer. Defendant further admits that Kati Everett, a white female, was promoted to

the position of Chief PR and Communications Officer, and that Vicky Free, an African-American

female, was hired as the Chief Marketing Officer. Defendant denies the remaining allegations

contained in Paragraph 35 of the Complaint.

       36.     Defendant denies the allegations contained in Paragraph 36 of the Complaint.

       37.     Regarding Paragraph 37, Defendant admits that Plaintiff seeks various types of

damages under Title VII. Defendant denies that it violated Title VII or any other law, rule, or

regulation with respect to Plaintiff’s employment, denies that Plaintiff is entitled to any relief

whatsoever, and denies the remaining allegations contained in Paragraph 37 of the Complaint.

       38.     Regarding Paragraph 38, Defendant admits that Plaintiff seeks compensatory

damages under 42 U.S.C. § 1981(a). Defendant denies that it violated Title VII or any other law,

rule, or regulation with respect to Plaintiff’s employment, denies that Plaintiff is entitled to any

relief whatsoever, and denies the remaining allegations contained in Paragraph 38 of the

Complaint.

       39.     Regarding Paragraph 39, Defendant admits that Plaintiff seeks punitive damages

under 42 U.S.C. § 1981(a). Defendant denies that it violated Title VII or any other law, rule, or

regulation with respect to Plaintiff’s employment, denies that Plaintiff is entitled to any relief

whatsoever, and denies the remaining allegations contained in Paragraph 39 of the Complaint.

       40.     Regarding Paragraph 40, Defendant admits that Plaintiff seeks “reasonable

attorneys’ fees.” Defendant denies that it violated Title VI or any other law, rule, or regulation




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with respect to Plaintiff’s employment, denies that Plaintiff is entitled to attorneys’ fees, and denies

the remaining allegations contained in Paragraph 40 of the Complaint.

                                    SECOND CLAIM FOR RELIEF
                                 ([Denied Violation of] 29 U.S.C. § 1140)

        41.     Defendant incorporates by reference its answers to the allegations of Paragraphs 1

through 40, as if fully set forth herein.

        42.     The allegations contained in Paragraph 42 of the Complaint contain legal

conclusions to which no response is required.

        43.     The allegations contained in Paragraph 43 of the Complaint contain legal

conclusions to which no response is required.

        44.     The allegations contained in Paragraph 44 of the Complaint contain legal

conclusions to which no response is required. To the extent any response may be required,

Defendant admits that 29 U.S.C § 1140 speaks for itself.

        45.     Defendant denies the allegations contained in Paragraph 45 of the Complaint.

        46.     Defendant denies the allegations contained in Paragraph 46 of the Complaint.

        47.     Defendant denies the allegations contained in Paragraph 47 of the Complaint.

                                      THIRD CLAIM FOR RELIEF
                                      ([Denied] Wrongful Discharge)

        48.     Defendant incorporates by reference its answers to the allegations of Paragraphs 1

through 47, as if fully set forth herein.

        49.     Defendant denies the allegations contained in Paragraph 49 of the Complaint.

        50.     Regarding the allegations contained in Paragraph 50 of the Complaint, Defendant

admits that Plaintiff is a white male. Defendant denies the remaining allegations contained in

Paragraph 50 of the Complaint.



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        51.     The allegations contained in Paragraph 51 of the Complaint contain legal

conclusions to which no response is required. To the extent any response may be required,

Defendant admits that N.C.G.S. § 143-422.2 speaks for itself.

        52.     Defendant denies the allegations contained in Paragraph 52 of the Complaint.

        53.     Regarding Paragraph 53, Defendant admits that Plaintiff seeks “actual and

compensatory tort damages.” Defendant denies that it violated N.C.G.S. § 143-422.2 or any other

law, rule, or regulation with respect to Plaintiff’s employment, denies that Plaintiff is entitled to

any relief whatsoever, and denies the remaining allegations contained in Paragraph 53 of the

Complaint.

        54.     Defendant denies the allegations contained in Paragraph 54 of the Complaint.

                                     FOURTH CLAIM FOR RELIEF
                                      ([Denied] Wrongful Discharge)

        55.     Defendant incorporates by reference its answers to the allegations of Paragraphs 1

through 54, as if fully set forth herein.

        56.     Defendant denies the allegations contained in Paragraph 56 of the Complaint.

        57.     Regarding Paragraph 57, Defendant admits that Plaintiff attempts to bring this

action under the North Carolina Wage and Hour Act N.C.G.S. § 95-25.1, et seq. to the extent it is

not preempted. Defendant denies that it violated the North Carolina Wage and Hour Act or any

other law, rule, or regulation with respect to Plaintiff’s employment, and denies the remaining

allegations contained in Paragraph 57 of the Complaint.

        58.     Paragraph 58 of the Complaint states a legal conclusion to which no response is

required.

        59.     Paragraph 59 of the Complaint states a legal conclusion to which no response is

required.

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       60.     Paragraph 60 of the Complaint states a legal conclusion to which no response is

required. To the extent a response is required, Defendant denies the allegations contained in

Paragraph 60 of the Complaint.

       61.     Defendant denies the allegations contained in Paragraph 61 of the Complaint.

       62.     Defendant denies the allegations contained in Paragraph 62 of the Complaint.

       63.     Regarding Paragraph 63, Defendant admits that Plaintiff seeks “actual and

compensatory tort damages” under the North Carolina Wage and Hour Act. Defendant denies that

it violated the North Carolina Wage and Hour Act or any other law, rule, or regulation with respect

to Plaintiff’s employment, denies that Plaintiff is entitled to any relief whatsoever, and denies the

remaining allegations contained in Paragraph 63 of the Complaint.

       64.     Defendant denies the allegations contained in Paragraph 64 of the Complaint.

                                         JURY DEMAND

       65.     Defendant admits that Plaintiff has demanded a jury trial for all matters except the

claim under 29 U.S.C. § 1140.

                                     PRAYER FOR RELIEF

       66.     Defendant denies that Plaintiff is entitled to any of the remedies demanded in the

prayer for relief and its subparts or any relief whatsoever.

       67.     Without assuming any burden of proof, persuasion, or production not otherwise

legally assigned to it as to any element of the claims alleged in Plaintiff’s Complaint, Defendant

asserts the following defenses:

                                       SECOND DEFENSE

       Any allegations of Plaintiff’s Complaint not expressly admitted are hereby denied.




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                                         THIRD DEFENSE

        The claims asserted in the Complaint fail to state a claim upon which relief can be granted

and should be dismissed under Rule 12(b)(6) of the Federal Rules of Civil Procedure.

                                        FOURTH DEFENSE

        All actions taken regarding Plaintiff’s employment or affecting Plaintiff were based on

legitimate, non-discriminatory reasons unrelated to Plaintiff’s race, sex or any other alleged

protected activity or characteristic.

                                         FIFTH DEFENSE

        Defendant at all times acted reasonably and in good faith toward Plaintiff. All decisions

regarding Plaintiff were based on reasonable factors other than race, sex or any other alleged

protected activity or characteristic, and it did not act intentionally or violate any law, regulation or

public policy willfully or otherwise.

                                         SIXTH DEFENSE

        Plaintiff’s claims are barred in whole or in part because Defendant’s actions were justified by

legitimate business reasons.

                                        SEVENTH DEFENSE

        Even if Plaintiff were to prove a discriminatory factor motivated the alleged actions –

which Defendant expressly denies – Defendant would have taken the same action in the absence

of such motivation.

                                        EIGHTH DEFENSE

        If any improper, illegal, or discriminatory actions were taken by any of Defendant’s

employees against Plaintiff, they were outside the course and scope of that employee’s

employment, contrary to Defendant’s policies and good faith efforts to comply with the law, and



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were not ratified, confirmed, or approved by Defendant. Thus, any such actions cannot be

attributed or imputed to Defendant.

                                         NINTH DEFENSE

        Plaintiff’s claims for punitive damages fail because Defendant did not act with malice or

reckless indifference to Plaintiff’s federally or state protected rights.

                                         TENTH DEFENSE

        Plaintiff’s claim for punitive damages, if granted by the Court, would deprive Defendant

of its rights under the Fifth, Eighth, and Fourteenth Amendments of the U.S. Constitution and

Article I, ¶¶ 19 and 27 of the North Carolina Constitution.

                                      ELEVENTH DEFENSE

        Plaintiff’s recovery of damages, if any, is barred to the extent Plaintiff has failed to mitigate

such damages.

                                       TWELFTH DEFENSE

        Upon discovery of sufficient facts, Defendant reserves the right to raise the “after acquired

evidence” defense.

                                    THIRTEENTH DEFENSE

        Plaintiff’s claims are barred to the extent Plaintiff has failed to satisfy all jurisdictional,

statutory and administrative prerequisites and conditions precedent with respect to his claims.

                                    FOURTEENTH DEFENSE

        Plaintiff’s claims, or some of them, are, or may be barred by the same actor and/or the same

decision-maker defense.

                                      FIFTEENTH DEFENSE

        Plaintiff’s claims are barred in whole or in part to the extent they are beyond the time period



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of any applicable statute of limitations and/or statutory, procedural or administrative requirements.

                                      SIXTEENTH DEFENSE

        Plaintiff’s claims may be barred in whole or in part under the doctrines of laches, estoppel,

waiver, unclean hands, and/or because of Plaintiff’s own conduct to the extent any such doctrine

is applicable to the facts of this case.

                                    SEVENTEENTH DEFENSE

        Plaintiff’s claims are barred to the extent they rely on allegations outside the scope of the

Plaintiff’s EEOC Charge and/or they rely on events occurring more than 180 days prior to the date

the EEOC Charge was filed.

                                     EIGHTEENTH DEFENSE

        In the event Plaintiff recovers damages, any award of damages is subject to any and all

applicable caps and limitations.

                                     NINETEENTH DEFENSE

        Plaintiff’s state law claims are preempted, in whole or in part, by the applicable provisions

of ERISA to the extent applicable and some or all of Plaintiff’s remedies are then limited to the

exclusive remedies available under ERISA.

                                      TWENTIETH DEFENSE

        Defendant’s actions were proper and reasonable, and were not arbitrary, capricious, or

erroneous as a matter of law.

                                    TWENTY-FIRST DEFENSE

        Plaintiff was not, and has not been, deprived of any employee benefits or any right to which

Plaintiff may be entitled under the terms and conditions of any applicable employee benefits plan.

                                  TWENTY-SECOND DEFENSE



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       Plaintiff cannot show that Defendant had the “specific intent” necessary to establish his

ERISA claim.

       Defendant hereby gives notice that it intends to rely on such other and further defenses as

may become applicable during discovery in this action and reserves the right to amend its Answer

to assert any such defense(s).

       WHEREFORE, Defendant prays the Court as follows:

           1. Plaintiff have and recover nothing by this action and that Plaintiff’s claims be

               dismissed with prejudice;

           2. Defendant be awarded costs and reasonable attorney’s fees;

           3. Defendant be awarded such other and further relief as the Court may deem just and

               proper.

       Dated this the 16th day of December, 2019.

                                     Respectfully submitted,

                                     /s/Benjamin R. Holland
                                     Benjamin R. Holland, NC #28580
                                     Elizabeth R. Gift, NC #44331
                                     S. Abigail Littrell, NC #49354
                                     Attorneys for Defendant
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                                CERTIFICATE OF SERVICE
       I, Benjamin R. Holland, hereby certify that I have this day electronically filed the foregoing

DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT with the Clerk of Court using

the CM/ECF system, which will send notification of the filing to the following persons:

       S. Luke Largess
       Attorney for Plaintiff
       Tin, Fulton, Walker & Owen, PLLC
       301 East Park Avenue
       Charlotte, NC 28203
       Telephone: 704.338.1220
       Facsimile: 704.338.1312
       Email: llargess@tinfulton.com

       Dated this the 16th day of December, 2019.

                                      /s/Benjamin R. Holland
                                      N.C. Bar No. 28580
                                      Attorneys for Defendant
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                                       SMOAK & STEWART, P.C.
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